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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                        )
                                                  )
                   Plaintiff,                     )
                                                  )        1:08-cr-116-08 SEB-KPF
           vs.                                    )
                                                  )
 LEONARDO LARES,                                  )
                                                  )
                   Defendant.                     )


                 ORDER GRANTING DE NOVO REVIEW OF DETENTION ORDER
                               BY MAGISTRATE JUDGE
                                         AND
                    DENYING RELEASE FROM CUSTODY PENDING TRIAL
                                    (Docket No. 183)

           Defendant, Leonardo Lares, by counsel, requests that the Court conduct a de novo review

 of the Magistrate Judge’s order of pretrial detention and enter an order allowing Defendant to be

 released awaiting trial. The Court has before it and has reviewed the August 21, 2008, Entry of the

 Magistrate Judge ordering pretrial detention, as well as the motion of Defendant, the response by

 the Government, the Defendant’s reply, and the accompanying exhibits. In addition, the Pretrial

 Services Report has been reviewed. On this basis, the Court has conducted the requested de novo

 review.

           Being duly advised, the Court concludes that no condition or combination of conditions

 imposed on the Defendant as terms of his release would overcome the unacceptably high risk that

 he would flee or pose a danger to safety of the community. Accordingly, the request for release

 from custody pending trial is DENIED.


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         The Court adopts and incorporates herein, without repetition, the explication and application

 of the statutes and case law laid out in the Magistrate Judge’s opinion. The legal foundations for

 the Court’s consideration of the issues before us and the controlling legal principles are correctly

 stated therein.

         The charge in the Indictment against the Defendant carries with it the statutory penalty of

 a mandatory minimum sentence of 10 years and a maximum of life imprisonment, which creates,

 pursuant to Section 3142(e) of Title 18, United States Code, a rebuttable presumption that there is

 no condition or combination of conditions of release which will reasonably assure the safety of the

 community or that the defendant will not be a serious risk to flee if released.

         Defendant produced evidence at the initial bond hearing in an effort to overcome that

 presumption, including the fact that he currently resides in Lafayette, Indiana, with his wife and two

 children, that he has been for five years the self-employed owner and operator of a Western-wear

 store located in that city, and that he owns his home and another rental property which could be

 posted as security on any bond. He recently became a naturalized United States citizen, but has

 parents, who are permanent legal residents of the United States, currently live in Mexico, which is

 also the place of Defendant’s birth and prior residence. He has five siblings most of whom reside

 in the United States. His criminal history consists of two, somewhat dated misdemeanor arrests, but

 no convictions. No additional evidence beyond that originally submitted by Defendant’s proffer has

 been cited by Defendant in conjunction with this request for de novo review.

        The Government notes that Defendant is one of sixteen defendants named in the charged

conspiracy to possess with intent to distribute and to distribute five kilograms or more of cocaine, that

a portion of the evidence gathered by the Government consists of wiretapped conversations among


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the defendants and that the case against these defendants is deemed by them to be strong. In addition,

the Government reports that at the time of Defendant’s arrest (August 1, 2008) a search was

conducted at his Lafayette residence which yielded $31,000 in cash and two handguns.

       The Pretrial Services Report indicates that the defendant is regularly treated for depression

and panic attacks and has a history of alcohol and cocaine use. Defendant last traveled to Mexico

on July 31, 2008. His financial situation is precarious in that he has greater expenses than he does

income.

       A preponderance of evidence clearly establishes that Defendant could, with little or no

difficulty, flee to another state or to Mexico, if released from custody and he chose to do so, based

on his familiarity with that country and the fact that his parents currently reside there. This

conclusion is buttressed by the fact that he most recently traveled there a mere two months ago. He

also has an extensive network of contacts, based on the fact that he has been indicted with 15 other

persons, who could facilitate both his flight and his hiding from authorities. Given the serious

penalties he would face upon conviction of the pending charges, he has a strong incentive to attempt

to avoid prosecution altogether, not to mention punishment.

       The clear and convincing evidence establishes that Defendant, if released, also poses a danger

to the community, based on the presence of firearms at his residence which were discovered at the

time of the search, the number of co-defendants in the Indictment against him who could provide a

network of people to allow him to re-enter or continue drug dealing in order to get money to support

the costs of his defense and/or to support his family, if he were to be convicted and away from them

for a substantial period of time. Obviously, he could also be enticed to return to drug dealing, if he

were inclined to do so, in order to supply his own drug use, if he resumed that practice.


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       The Court does not view the fact of Defendant’s business ties or his family ties as sufficient

to overcome his desire or opportunity to flee or pose a danger to the community, though we concede

that they could represent some level of restraint on him, just not enough under the circumstances.

       Given the nature and circumstances of the offense of which the Defendant stands charged and

the fact that the crime alleged involves a sizeable quantity of narcotic drug as well as a large amount

of United States currency and firearms, which point to the commission of the offense of distribution

of drugs; and given the weight of the evidence against the Defendant which is by all measures strong;

given the history and characteristics of the Defendant, the most troublesome of which is the fact that

his family resides in Mexico, making it a ready destination if Defendant were to attempt to flee the

jurisdiction of this court; and given the nature and seriousness of the danger to the community should

Defendant be released due to the large amount of money available to him and his familiarity with and

prior possession of firearms, Defendant’s continued detention is altogether appropriate.

       Accordingly, the Motion to Review (and set aside) the Detention Order is hereby DENIED.

       IT IS SO ORDERED.



         10/02/2008
Date: _____________________                                 _______________________________
                                                             SARAH EVANS BARKER, JUDGE
                                                             United States District Court
                                                             Southern District of Indiana




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